Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 1 of 9 PageID #:1687




                      Exhibit 4
  Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 2 of 9 PageID #:1688



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS,
                               EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;         )
Maria Valencia and Jeremiah Jurevis;                )       No. 18-cv-03424
              Plaintiffs,                           )
v.                                                  )       Honorable John Robert Blakey
                                                    )
Chicago Park District and City of Chicago,          )       Jury Demanded
             Defendants.                            )



        PLAINTIFFS’ FIRST REQUEST TO PRODUCE TO CITY OF CHICAGO

Now come the Plaintiffs, Protect Our Parks, Inc.; Charlotte Adelman; Maria Valencia and
Jeremiah Jurevis, through their undersigned attorneys, and pursuant to Rule 34 of the Federal
Rules of Civil Procedure request that the Defendant, City of Chicago, produce the following
documents, electronically stored information and tangible things at the law offices of Roth
Fioretti, CCL 311 S. Wacker Drive, Suite 2470, Chicago Illinois within 30 days from service of
this Request to Produce.


                                        DEFINITIONS

For purposes of this Request to Produce, the following definitions shall apply unless otherwise
specifically indicated:

1.    The word "document" shall mean any written or graphic matter or other means of
preserving thought or expression, and all tangible things from which information can be
processed or transcribed, including, but not limited to, correspondence, memoranda, notes,
messages, letters, electronic mail (emails), facsimiles, telegrams, teletyped messages, bulletins,
diaries, chronological data, minutes, books, reports, charts, ledgers, invoices, worksheets,
receipts, computer printouts, schedules, affidavits, contracts, transcripts, surveys, graphic
representations of any kind, photographs, graphs, microfilm, video tapes, tape recordings, motion
pictures or other film and all electronically stored information.

2. "Person" means any natural person or any legal entity, including, but not limited to, a
corporation, partnership and unincorporated association, and any officer, director, employee,
agent or other person acting or purporting to act on its behalf.

3.     "And" and "or" shall be construed disjunctively or conjunctively as necessary in order to
bring within the scope of each request all documents which might otherwise be construed to be
outside its scope.


                                                1
     Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 3 of 9 PageID #:1689



4.      "Each" includes both "each" and "every."

5.     The singular and masculine gender shall, respectively, include the plural and feminine
gender, and vice versa.

6.     "Relating to," "relates to," and “regarding” mean, without limitation, relating to,
concerning, constituting, mentioning, referring to, describing, summarizing, evidencing, listing,
relevant   to,    demonstrating,    tending      to    prove     or disprove,     or    explain.

7.      "Communication" or "communications" includes, without limitation, in-person or
telephone conversations, facsimiles, letters, electronic mail (email), telegrams, telexes, text
messages, tapes or other sound recordings, or other means of transmitting information from one
source to another.

8.     “Foundation” shall mean the Obama Foundation, and all other persons acting or
purporting to act on behalf of the Obama Foundation.

9.     “City of Chicago” shall mean the City of Chicago, a municipal corporation, and shall
include City departments, including but not limited the the Department of Planning and
Development, the Chicago Department of Transportation and the Office of the Mayor and all
other persons acting or purporting to act on behalf of the City.

10.    “Chicago Park District” shall mean the Chicago Park District, and all other persons acting
or purporting to act on behalf of the Chicago Park District.

11.     “OPC” shall mean a presidential center proposed by the Foundation.

12.   “OPC Site” shall mean the site for the Obama Presidential Center as defined in the 2018
Ordinance.

13.     “UofC” shall mean the University of Chicago.

14.     “UIC” shall mean the University of Illinois at Chicago.

15.    “RFP” shall mean the Foundation’s Request for Proposal issued on or about September
15, 2014 related to the OPC.

16.    “Bid Package” shall mean any proposal submitted by the University of Chicago or the
University of Illinois at Chicago in response to the RFP.

17.     “UPARR” shall mean the Urban Park and Recreation Recovery Act.

18.   “2015 Ordinance” shall mean the City of Chicago Ordinance attached to Plaintiff’s
Complaint as Exhibit A.

19.     “2018 Ordinance” shall mean the proposed Ordinance attached hereto as Exhibit B.

                                                2
     Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 4 of 9 PageID #:1690



20.   “Environmental Agreement” means the Environmental Remediation and Indemnity
Agreement attached as Exhibit F to the 2018 Ordinance.

21.     “Washington Park Site” shall mean the location in the northwest portion of Washington
Park proposed by the University of Chicago as a potential site for the OPC, as identified in the
City’s January 2015 Ordinance.

22.    “South Shore Cultural Center Site” shall mean the location described as “a location near
the South Shore Cultural Center in Jackson Park in the City’s January 2015 Ordinance.

23.    “Museum Act” means the Illinois Park District Aquarium and Museum Act, 70 ILCS
1290/0.01 et seq.

24.    “Amendment to Museum Act” means the amendments to the Museum Act enacted in the
year 2016, and referenced in Plaintiff’s Complaint.

25.     “NPS” means National Park Service.

26.     “FHA” means the Federal Highway Administration.

27.     “SHPO” means the Illinois Historic Preservation Office.

                               REQUEST FOR PRODUCTION

Produce all of the following documents and tangible things in your possession, custody or
control related to:

1.      Any financial and/or economic analysis relating to locating the OPC at any site in
        Chicago.
2.      Any and all documents related to any analysis related to costs and expenses to the public
        regarding locating the OPC on the OPC Site.
3.      Any and all documents related to any analysis discussing the public or private benefits to
        any private person or entity, regarding locating the OPC on the OPC Site.
4.      Any and all documents related to any analysis of benefits to the Foundation as a result of
        locating the OPC at the OPC Site.
5.      Any and all documents related to any analysis of benefits to the Foundation as a result of
        locating the OPC at any location in Chicago other than the OPC Site.
6.      Any and all documents related to any analysis related to costs and expenses to the public
        regarding locating the OPC on the Washington Park Site.
7.      Any and all documents related to any analysis, including but not limited to public or
        private benefits to any private person or entity, regarding locating the OPC on the
        Washington Park Site.
8.      Any and all documents related to any analysis related to costs and expenses to the public
        regarding locating the OPC on the South Shore Cultural Center Site.

                                                3
     Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 5 of 9 PageID #:1691



9.      Any and all documents related to any analysis, including but not limited to public or
        private benefits, regarding locating the OPC on the South Shore Cultural Center Site
10.     Any and all documents related to any analysis related to costs and expenses to the public
        regarding locating the OPC on a site in Chicago other than those referenced in Requests 2
        to 9 inclusive.
11.     Any and all documents related to any analysis, including but not limited to public or
        private benefits to any private person or entity, regarding locating the OPC on a site in
        Chicago other than those referenced in Requests 2-9.
12.     Any and all documents related to the change of boundaries of the OPC Site from the
        original location proposed in the 2015 Ordinance to the OPC Site.
13.     Any and all documents related to related to the fair market value of the OPC Site.
14.     Any and all covenants, restrictions, deeds, liens, encumbrances and grants related to
        Jackson Park at any time to the present.
15.     Any and all covenants, restrictions, deeds, liens, encumbrances and grants recorded on
        title to the OPC Site.
16.     Any and all title commitments or title reports related to the OPC Site.
17.     Any and all documents related to the cost to the State of Illinois as a result of locating the
        OPC at the OPC Site.
18.     Any and all documents related to the reason why the Presidential Center will not include
        a “Presidential Library,” as defined in The Presidential Library Act of 1955.
19.     Any and all documents related to the OPC’s compliance with the Museum Act.
20.     Any and all documents related to drafts of the Amendment to the Museum Act.
21.     Any and all documents related to lobbying related to amending the terms of the Museum
        Act.
22.     Any and all documents related to communications regarding the Amendment to the
        Museum Act.
23.     Any and all documents, including communications, to or from the Foundation related to
        the Museum Act.
24.     Any and all documents, including communications, to or from the UofC related to the
        Museum Act
25.     Any and all documents related to the City’s involvement with the Amendment to the
        Museum Act.
26.     Any and all documents related to the 2016 to the Amendment to the Museum’s Act’s
        declaration that “The changes made to this Section by this amendatory Act of the 99th
        General Assembly are declaratory of existing law and shall not be construed as a new
        enactment.”
27.     Any and all documents related to any analysis or study related to environmental or other
        remediation necessary to accommodate the OPC on the OPC Site.
28.     Any and all documents related to the City’s incremental costs of remediating the OPC
        Site as referenced in the Environmental Agreement.


                                                  4
  Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 6 of 9 PageID #:1692



29.   Any and all documents related to soil tests related to the OPC Site from January 2014 to
      the present.
30.   Any and all documents related to soil tests related to the Washington Park Site from
      January 2014 to the present.
31.   Any and all documents related to the Foundation's concerns regarding the City’s lack of
      control over proposed park sites, as referenced on page 2 of the 2015 Ordinance.
32.   Any and all documents related to real property designated as a replacement parkland as a
      result of locating any buildings on the OPC Site.
33.   Any and all documents related to real property designated as a replacement open space
      property as a result of locating any buildings on the OPC Site.
34.   Any and all documents related to the UPARR grant agreement from 1980 in the amount
      of $125,200, as referenced on page 9 of the 2018 Ordinance.
35.   Any and all documents related to the UPARR grant agreement from 1981 in the amount
      of $135,870. As reference on page 9 of the 2018 Ordinance.
36.   Any and all documents related to any other UPARR grant agreements regarding land in
      Jackson Park, other than those referenced in Requests 2 and 3, above.
37.   Any and all documents related to the City requesting that the NPS approve amendments
      to the UPARR grant agreements to remove the grant conditions from the footprint of the
      Museum, Library and Forum Buildings on the OPC Site, and to transfer those conditions
      to another location, as stated in the 2018 Ordinance.
38.   Any and all documents related to any locations considered by the City and/or the
      Foundation (whether in Jackson Park or outside of Jackson Park) as replacement property
      to comply with UPARR.
39.   Any and all documents related to reviews by the NPS related to the OPC Site.
40.   Any and all documents related to reviews by the FHA related to the OPC Site.
41.   Any and all documents related to roadway closures as a result of locating the OPC at the
      OPC Site, including but not limited to the economic impact and the impact on traffic.
42.   Any and all documents related to roadway closures as a result of locating the OPC at any
      location in Chicago, other than the OPC Site, including but not limited to the economic
      impact and the impact on traffic.
43.   Any and all documents related to the Foundation paying real estate taxes related to the
      Obama Center.
44.   Any and all documents related to the fair market value of the land to be dedicated for use
      of the OPC Site.
45.   Any and all documents related to the Department of Homeland Security providing
      security for the OPC.
46.   Any and all documents related to the reason why the 2018 Ordinance proposed a “Use
      Agreement,” as opposed to a lease referenced in the 2015 Ordinance.
47.   Any and all documents related to the RFP.
48.   Any and all documents related to the UofC’s responses to the RFP.


                                              5
  Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 7 of 9 PageID #:1693



49.    Any and all documents related to the UIC’s response to the RFP.
50.    Any and all Bid Packages.
51.    All documents, including but not limited to communications, between the City and the
       Foundation regarding the OPC.
52.    All documents, including but not limited to communications, between the City and the
       UofC regarding the OPC.
53.    All documents, including but not limited to communications, between the City and the
       Park District regarding the OPC.



                                            Respectfully submitted,

                                            /s/ Mark D. Roth
                                                Mark D. Roth




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                                   PROOF OF SERVICE

       I, Mark Roth, an attorney, certify that I served the Plaintiffs’ First Request To Produce
to the City of Chicago by email transmission from mark@rothfioretti.com to the following
persons at their email addresses shown below on or before 5:00 pm. on October 23, 2018.




 Richard W. Burke, -
 Burke, Warren, MacKay & Serritella, P.C.                                Chicago Park District
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                                               6
 Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 8 of 9 PageID #:1694




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                                           7
  Case: 1:18-cv-03424 Document #: 50-4 Filed: 11/21/18 Page 9 of 9 PageID #:1695




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                                              8
